      Case 1:21-cr-00670-CJN Document 192 Filed 05/13/24 Page 1 of 1
USCA Case #22-3086    Document #2053800       Filed: 05/10/2024 Page 1 of 1



                 United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 22-3086                                                  September Term, 2023
                                                             FILED ON: MAY 10, 2024

UNITED STATES OF AMERICA,
                   APPELLEE

v.

STEPHEN K. BANNON,
                      APPELLANT


                         Appeal from the United States District Court
                                 for the District of Columbia
                                    (No. 1:21-cr-00670-1)


       Before: PILLARD, WALKER, and GARCIA, Circuit Judges

                                      JUDGMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

       ORDERED and ADJUDGED that the judgment of conviction and sentence under 2
U.S.C. § 192 be affirmed, in accordance with the opinion of the court filed herein this date.

                                         Per Curiam


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                       BY:    /s/

                                                              Michael C. McGrail
                                                              Deputy Clerk


Date: May 10, 2024

Opinion for the court filed by Circuit Judge Garcia.
